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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00403 AWI-DLB
                                             )
12                        Plaintiff,         )   STIPULATION AND ORDER
                                             )   FOR CONTINUANCE OF STATUS
13   v.                                      )   CONFERENCE
                                             )
14   DAVIER PORCHIA, and                     )
     NOLIS PORCHIA,                          )
15                                           )
                          Defendants.        )
16                                           )
17         IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Jon Kyoshi Renge, attorney for Davier Porchia, and Ann
20   Voris, attorney for Nolis Porchia, that the status conference set for
21   May 14, 2012 at 1:00 pm be continued to June 11, 2012 at 1:00 pm.
22   The undersigned Assistant U.S. Attorney has a family crisis for which
23   she needs to travel out of state and will not be available on May 14,
24   2012.   The parties discussed requesting that the hearing be scheduled
25   for May 29, 2012, but due to scheduling conflicts of defense counsel,
26   including training, we agreed upon a requested date of June 11, 2012.
27   The parties further request the Court to enter an Order finding that
28   the "ends of justice" served by a continuance outweigh the interest

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 1   of the public and the defendant in a speedy trial, and that the delay
 2   occasioned by such continuance is excluded from the Act's time limits
 3   pursuant to 18 U.S.C. § 3161(h)(7)(A).
 4
     Dated: May 3, 2012                      Respectfully submitted,
 5
                                             BENJAMIN B. WAGNER
 6                                           United States Attorney
 7
                                        By    /s/ Kimberly A. Sanchez
 8                                           KIMBERLY A. SANCHEZ
                                             Assistant U.S. Attorney
 9
     Dated: May 3, 2012                      /s/ Jon Kyoshi Renge
10                                           JOHN KYOSHI RENGE
                                             Attorney for Davier Porchia
11
12   Dated: May 3, 2012                      /s/ Ann Voris
                                             ANN VORIS
13                                           Attorney for Nolis Porchia
14            For the reasons set forth above, the continuance requested by
15   the parties is granted for good cause and time is excluded under the
16   Speedy Trial Act from May 14, 2012 to, and including, June 11, 2012,
17   based upon the Court’s finding that the ends of justice outweigh the
18   public’s and the defendant’s interest in a speedy trial. 19 U.S.C. §
19   3161(h)(7)(A).
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24             IT IS SO ORDERED.
25              Dated:   May 10, 2012              /s/ Dennis L. Beck
     3b142a                                  UNITED STATES MAGISTRATE JUDGE
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